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                  Exhibit 1
Firefox                                                                             https://www.law.com/dailybusinessreview/public-notices/miami-dade-c...
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               12/12/2022
               N OT I C E O F U. S . M A R S H A L S S E R V I C E S A L E

               CATEGORY
               Other Sales FL
               AD NUMBER
               0000635671-01

               U. S. Department of Justice United States Marshals Service Southern District of
               Florida CASE No. 18-25337 ANTONIO CABALLERO PLAINTIFF vs. DEFENDANT
               FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, ET AL., By virtue of a Final
               Judgment dated May 20, 2020, entered by the United States District Court for the
               Southern District of Florida in the above referenced case, and the following writs of
               execution: Writ of Execution issued on June 3, 2022 (ECF No. 159), and seven Writs
               of Execution issued on June 8, 2022 (ECF No. 161), NOTICE is hereby given that I will
               sell public auction for cashiers or certiﬁed funds check ONLY (with the exception of
               credit bids placed by Plaintiﬀ), on J a n u a r y 1 7 a t 1 2 : 0 0 P. M . , at the Wilkie D.
               Ferguson, Jr. U.S. Courthouse, 400 N. Miami Avenue, Miami FL 33128, outside the
               main ground ﬂoor security entrance in the covered pedestrian walkway that passes
               through the center ground ﬂoor of the courthouse the following seven (7) properties,
               including all of their contents: ( 1 ) t h e r e a l p r o p e r t y t i t l e d i n t h e n a m e o f R I M
               Group Investments III Corp. located at 144 Isla Dorada Boulevard, Coral
               G a b l e s , F l o r i d a 3 3 1 4 3 , w i t h a l e g a l d e s c r i p t i o n o f : L o t 8 , B l o c k 2 0, o f
               C O C O P LU M S E C T I O N T WO, P l a t E , a c c o r d i n g t o t h e P l a t t h e r e o f a s
               r e c o r d e d i n P l a t B o o k 1 3 1 , P a g e 7 6 , o f t h e P u b l i c Re c o r d s o f M i a m i - D a d e
               C o u n t y, F l o r i d a . F o l i o : 0 3 - 4 1 3 2 - 0 3 0 - 0 0 8 0. ( 2 ) t h e r e a l p r o p e r t y t i t l e d i n t h e
               n a m e o f R I M G r o u p I n v e s t m e n t s I C o r p. l o c a t e d a t 4 1 0 0 S a l z e d o St r e e t , U n i t
               608, Coral Gables, Florida 33146, with a legal description of: Unit No. 608 of
               O N E V I L L AG E P L AC E , a C o n d o m i n i u m , a c c o r d i n g t o T h e D e c l a r a t i o n o f
               C o n d o m i n i u m r e c o r d e d i n O ﬃ c i a l Re c o r d s B o o k 2 6 3 0 6 a t P a g e 2 0 9 8 , a n d
               a l l e x h i b i t s a n d a m e n d m e n t s t h e r e o f, P u b l i c Re c o r d s o f M i a m i - D a d e C o u n t y,
               F l o r i d a . F o l i o : 0 3 - 4 1 2 0 - 0 6 5 - 0 5 0 0. ( 3 ) t h e r e a l p r o p e r t y t i t l e d i n t h e n a m e o f
               R I M G r o u p I n v e s t m e n t s I C o r p . l o c a t e d a t 4 1 0 0 S a l z e d o S t r e e t , U n i t 8 0 7,
               C o r a l G a b l e s , F l o r i d a 3 3 1 4 6 , w i t h a l e g a l d e s c r i p t i o n o f : U n i t N o . 8 0 7, O N E
               V I L L AG E P L AC E C O N D O M I N I U M , a C o n d o m i n i u m a c c o r d i n g t o t h e
               D e c l a r a t i o n o f C o n d o m i n i u m t h e r e o f, a s r e c o r d e d i n O ﬃ c i a l R e c o r d s B o o k
               2 6 3 0 6 , a t p a g e 2 0 9 8 , o f t h e P u b l i c Re c o r d s o f M i a m i - D a d e C o u n t y F l o r i d a ,



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               together with an undivided share in the common elements appurtenant
               t h e r e t o . F o l i o : 0 3 - 4 1 2 0 - 0 6 5 - 0 4 5 0. ( 4 ) t h e r e a l p r o p e r t y t i t l e d i n t h e n a m e o f
               R I M G r o u p I n v e s t m e n t s I I C o r p . l o c a t e d a t 4 1 0 0 S a l z e d o St r e e t , U n i t 8 1 3 ,
               Coral Gables, Florida 33146, with a legal description of: Unit No. 813 of ONE
               V I L L AG E P L AC E C O N D O M I N I U M , a C o n d o m i n i u m , a c c o r d i n g t o T h e
               D e c l a r a t i o n o f C o n d o m i n i u m r e c o r d e d i n O ﬃ c e Re c o r d s B o o k 2 6 3 0 6 , a t
               P a g e 2 0 9 8 , a n d a l l e x h i b i t s a n d a m e n d m e n t s t h e r e o f, P u b l i c R e c o r d s o f
               M i a m i - D a d e C o u n t y, F l o r i d a . F o l i o : 0 3 - 4 1 2 0 - 0 6 5 - 0 8 6 0. ( 5 ) t h e r e a l p r o p e r t y
               titled in the name of RIM Group Investments II Corp. located at 4100 Salzedo
               St r e e t , U n i t 9 1 3 , C o r a l G a b l e s , F l o r i d a 3 3 1 4 6 , w i t h a l e g a l d e s c r i p t i o n o f : U n i t
               N o . 9 1 3 , O N E V I L L AG E P L AC E C O N D O M I N I U M , a C o n d o m i n i u m a c c o r d i n g t o
               t h e D e c l a r a t i o n o f C o n d o m i n i u m t h e r e o f, a s r e c o r d e d i n O ﬃ c i a l R e c o r d s
               B o o k 2 6 3 0 6 , a t p a g e 2 0 9 8 , o f t h e P u b l i c Re c o r d s o f M i a m i - D a d e C o u n t y
               Florida, together with an undivided share in the common elements
               a p p u r t e n a n t t h e r e t o . F o l i o : 0 3 - 4 1 2 0 - 0 6 5 - 0 8 7 0. ( 6 ) t h e r e a l p r o p e r t y t i t l e d i n
               t h e n a m e o f R I M G r o u p I n v e s t m e n t s , C o r p. l o c a t e d a t 4 1 0 0 S a l z e d o St r e e t ,
               U n i t 1 0 1 0, C o r a l G a b l e s , F l o r i d a 3 3 1 4 6 , w i t h a l e g a l d e s c r i p t i o n o f :
               C o n d o m i n i u m U n i t N o . 1 0 1 0 o f O N E V I L L AG E P L AC E , a C O N D O M I N I U M ,
               a c c o r d i n g t o t h e D e c l a r a t i o n o f C o n d o m i n i u m t h e r e o f, r e c o r d e d i n O ﬃ c i a l
               Re c o r d s B o o k 2 6 3 0 6 , a t P a g e 2 0 9 8 , o f t h e P u b l i c Re c o r d s o f M i a m i - D a d e
               C o u n t y, F l o r i d a ; t o g e t h e r w i t h a n u n d i v i d e d s h a r e i n t h e c o m m o n e l e m e n t s
               a p p u r t e n a n t t h e r e t o ( t h e " P r o p e r t y " ) . F o l i o : 0 3 - 4 1 2 0 - 0 6 5 - 0 6 8 0. ( 7 ) t h e r e a l
               p r o p e r t y t i t l e d i n t h e n a m e o f M a g u s H o l d i n g L LC l o c a t e d a t 4 1 0 0 S a l z e d o
               St r e e t , U n i t 8 0 4 , C o r a l G a b l e s , F l o r i d a 3 3 1 4 6 , w i t h a l e g a l d e s c r i p t i o n o f :
               C o n d o m i n i u m U n i t N o . 8 0 4 o f O N E V I L L AG E P L AC E , A C O N D O M I N I U M ,
               a c c o r d i n g t o t h e D e c l a r a t i o n o f C o n d o m i n i u m t h e r e o f, r e c o r d e d i n O ﬃ c i a l
               Re c o r d s B o o k 2 6 3 0 6 , a t P a g e 2 0 9 8 , o f t h e P u b l i c Re c o r d s o f M i a m i - D a d e
               C o u n t y, F l o r i d a ; t o g e t h e r w i t h a n u n d i v i d e d s h a r e i n t h e c o m m o n e l e m e n t s
               a p p u r t e n a n t t h e r e t o ( t h e " P r o p e r t y " ) . F o l i o : 0 3 - 4 1 2 0 - 0 6 5 - 0 2 4 0. B e f o r e b e i n g
               permitted to bid at the sale of any of the respective subject properties,
               registered bidders shall present proof of funds via (cashier certiﬁed check
               made payable to USMS). The successful bidder of each subject property
               s h a l l r e s p e c t i v e l y d e p o s i t w i t h t h e U. S . M a r s h a l s S e r v i c e a t t h e c l o s e o f t h e
               s a l e , 2 0 p e r c e n t ( 2 0 % ) o f t h e b i d p r i c e , b y c a s h i e r 's o r c e r t i ﬁ e d f u n d s c h e c k
               m a d e p a y a b l e t o t h e U. S . M a r s h a l s S e r v i c e . T h e b a l a n c e m u s t b e p a i d w i t h i n
               FIVE (5) days after the sale. If the Plaintiﬀ is the successful bidder at the
               s a l e , t h e U n i t e d S t a t e s M a r s h a l s S e r v i c e s h a l l c r e d i t t h e P l a i n t i ﬀ 's b i d
               a m o u n t , m i n u s t h e c o s t s o f t h e s a l e , a g a i n s t t h e P l a i n t i ﬀ 's J u d g m e n t
               Amount. Failure to pay the balance in accordance with the terms of the sale
               by the successful bidder shall result in the forfeiture of the monies


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               deposited and the property may be re-oﬀered for sale. The subject
               p r o p e r t i e s a r e b e i n g s o l d "A S I S " a n d " W H E R E I S " a n d " S U B J E C T TO " : ( I )
               without any representation regarding any potential hidden damage or
               defects of any nature, known or unknown, and with no representations,
               w a r r a n t i e s , o r g u a r a n t e e s w h a t s o e v e r, e x p r e s s o r i m p l i e d , r e g a r d i n g t h e
               p r o p e r t y 's c o n d i t i o n , n a t u r e , v a l u e , s o u r c e , a u t h e n t i c i t y, ﬁ t n e s s ,
               m e r c h a n t a b i l i t y, a n d / o r a n y o t h e r a s p e c t o r c h a r a c t e r i s t i c s o f t h e p r o p e r t y ;
               (2) subject to all outstanding liens, liabilities, claims or encumbrances,
               known or unknown; (3) subject to restrictions, prohibitions, rules,
               r e g u l a t i o n s a n d o t h e r r e q u i r e m e n t s i m p o s e d b y U. S . , s t a t e o r l o c a l
               g o v e r n m e n t a l o r f u t u r e s a l e s a n d u s e t a xe s , i f a n y. J u d g m e n t A m o u n t :
               $ 4 6 ,7 2 9,6 6 7.0 0, w h i c h i s f u r t h e r t r e b l e d p u r s u a n t t o 1 8 U. S . C . 2 3 3 3 D a t e d
               t h i s 9 t h d a y o f D e c e m b e r. 2 0 2 2 A t t o r n e y s f o r P l a i n t i ﬀ J O S E P H I . Z U M PA N O,
               E S Q. L E O N N . PAT R I C I O S , E S Q. Z U M PA N O PAT R I C I O S , P . A . 3 1 2 M i n o r c a
               A v e . C o r a l G a b l e s , F L 3 3 1 3 4 Te l e p h o n e : ( 3 0 5 ) 4 4 4 - 5 5 6 5 G a d y a c e s S .
               S e r r a l t a , U n i t e d St a t e s M a r s h a l
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